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FILED

Q MAR 27 2006 IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
WICHAEL Wt MICT COURT EASTERN DIVISION
EQUIP FOR EQUALITY, INC.
Plaintiff, o6cv167"
aintiff,
} JUDGE FILIP ow
* ) MAGISTRATE DENS.
ROBBINS SUPPORTIVE LIVINGLLC ) —_—_wragisttate Sudge
)
Defendant. )
COMPLAINT FOR

DECLARATORY AND INJUNCTIVE RELIEF

I. Introduction

Plaintiff Equip for Equality, Inc. (“EFE”) is a private not-for-profit organization with
federal statutory mandates to protect and advocate on behalf of individuals with mental illness,
individuals with developmental disabilitics, and individuals with other disabilities as defined by
the Americans with Disabilities Act. Pursuant to its statutory authority, under the Protection and
Advocacy for Individual Rights Act (hereinafter “PATR”) 29 U.S.C. § 794e, et seg. Pursuant to
its authority, EFE sought access to Defendant's supportive living faciliiy, Robbins Supportive
Senior Living, in Robbins, Illinois, to investigate conditions of residents for possible abuse or
neglect. Defendant, by its agents and employees, refused and continues to refuse to allow EFE
access. EFF brings this action to obtain a declaration of its right to access to defendant’s
facilities, residents and employees, and an injunction preventing Defendant from denying EFR

access to its facilities, residents and employees in accordance with Plaintiff's statutory right.

 
 

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{I. The Parties
I. EFE is a not-for-profit [llinois corporation, which was founded in 1985 under the name
Protection and Advocacy, Inc., as an organization dedicated to protecting and upholding the
rights of individuals with disabilities in the State of linois. EFE’s principal office is located in
Chicago, Illinois in Cook County.
2. Defendant Robbins Supportive Living LLC is a for-profit corporation, organized under
Illinois Law, with its principal place of business located in Northbrook, Hlmois,
3. Defendant Robbins Supportive Living LLC operates Robbins Senior Living
(“Robbins”), which is a “supportive living facility,” as that term is defined in applicable Illinois
law, and is located in Robbins, [linois.
4, In its Robbins facility, Defendant provides housing and services to eligible mdividuals
who are the age of 63 or older.
5. Services provided by Robbins include temporary nursing services, health assessments
and other well-being services.
6. Residents at Robbins include, but are not limited to, those with physical disabilities,
including, on information and belicf, individuals with arthntis, diabetes, hip and/or knee
replacements, and heart disease.

HW. Jurisdiction and Venue

7. This court has jurisdiction over this action pursuant to 28 U.S.C. § 1331.
8. Venue is appropnate pursuant to 28 U.S.C. § 1391(b), as the parties are IIlinois entities

and ail of the events and omissions complained of occurred within ihis district.
 

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IV. Denial of Access
9, EFE’s tederal and state mandates include the responsibility to ensure that the nghts of
individuals with physical disabilities are protected. EFE serves the important function of
providing independent oversight of programs and facilities that offer treatment or care to
individuals with physical disabilities in Illinois.
10. On August 31, 2005 in response to information regarding the quality of services and
living conditions, representatives of EFE visited Robbins and sought access to the facility, its
residents and employccs.
11. At the time they sought access, EFE representatives provided identification and
ercdentials to the Robbins facility administrator, Tammy Wilson.
i2, Ms, Wilson talked generally with EFE representatives about Robbins, and then referred
them to her supervisor, Terry Bathum, for permission to enter the facility.
13. While still at the offices of Robbins on August 31, 2005, EFE staff spoke by telephone
with Mr. Bathum, explained that they were there to conduct a monitoring visit and informed him
of the authority pursuant to which the visit was to be conducted.
14. Mr, Bathum denied access to the EFE staff on August 31, 2005. He also demanded
additional, written, proof of their authority and scheduled a meeting with them for the following
day, September 1, 2005.
15. Later in the day on August 31, 2005, Deborah Kennedy, Director of Equip for Equality’s
Abuse Investigations Unit, faxed a letter to Mr. Bathum, which provided him with the requested
information.
16. On September 1, 2005, representatives of EFE again traveled to Robbins and sought

access ta the facility, whereupon they were greeted by Mr. Bathum.
 

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17, Rather than permitting them access to the facility on September 1, 2005, Mr. Bathum
cancelled the scheduled meeting with EFE representatives and informed them they would not be
allowed access to the facility.
18. Followmg September 1, 2005, Equip for Equality made additional efforts to secure access
through contacts with Robbins’ legal counsel, which efforts were unsuccessful.
19, Subsequent telephone calls by EFE legal counscl to Robbins’ legal counsel to discuss the
subject of access were not returned.
20,  EFE continues to desire access to Robbins for the purpose of fulfilling its statutory
ACCCSS.
21. ‘The Protection and Advocacy for Individual Rights Act (PAIR). 29 U.S.C. § 794e, PAIR
incorporates all access rights of 42 U.S.C.§ 15041 e¢ seg. (formerly codifted at 42 U.S.C. § 6041
et seg.), known as the Protection and Advocacy for Developmental Disabilitics Act (PADD).
22. Pursuant to the PAIR Act, liquip for Equality has the right to have unaccompanied access
to individuals who have physical disabilities within the meaning of the Americans with
Disabilities Act, who reside in facilities, licensed or unlicensed, in the State of Illinois, in which
“services, supports and other assistance” are provided. 29 U.S.C. § 794e(f).

V. Violation Of PALER Act
23, Defendant’s denial of access to Equip for Equality to its Robbins facility in order to access
individuals residing therein who are protected by the PATR Act and the Americans with
Disabilities Act is a violation of the PAIR Act, 29 U.S.C., 794e et seq., and its continued denial

of access represents a continuing violation of that Act.
 

 

 

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VI. Relicf Sought

WHEREFORE, Plaintiff Equip for Equality requests the following tclief:

A. That this Court declare that Defendant’s denial of access by Plaintiff to its
Robbins facility, residents and cmployecs, constitutes a Violation of the PAIR Act;

B. That this Court permanently enjoin Defendant from denying to Equip for
Equality unaccompanied access to the facilities, residents and employces of Robbins Senior
Living and other supportive living facilitics owned and operated by Robbins Supportive Living
LLC, without advance notice and at any reasonable time;

C. That this Court issues such other relief as may be just, equitable, and

appropriate, including attomeys’ fees and costs.

Respectfully submiticd,

Kare, | Wad.

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Once of the Attorneys for Plaintiff

 

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